           Case 0:22-cv-62232-AHS DocumentCIVIL
JS 44 (Rev. 10/20) FLSD Revised 02/12/2021 1-1 Entered
                                                COVERon  FLSD Docket 11/29/2022 Page 1 of 1
                                                       SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings or other papers as required by law, except as provide,
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of mitiatin,
the civil docket sheet. (SEE INSTRUCTIONS ON NEXTPAGE OF THIS FORM.)NOTICE: Attorneys MUST Indicate All Re-Bled Cases Below.
I.(a)     PLAINTIFFS                                                                                        DEFENDANTS
                               Kurtis-Shawn Joseph-Bey                                                                         City of Plantation

  (b) County of Residence of First Listed Plaintiff Broward                                                 County of Residence of First Listed Defendant Broward
                       ( EXCEPTIN U.S. PLAINTIFF CASES)                                                                            ( IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:                IN LAND CONDEMNATION CASES,USE THE LOCATION OF
                                                                                                                                 THE TRACT OF LAND INVOLVED.
  (C) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (IfKnown)

     Pro-Se                                                                                                  Scott D. Alexander, Johnson Anselmo et al, 2455 E. Sunrise Blvd.,:

(d)Check County Where Action Arose: ❑ MIAMI- DADE 0 MONROE                      11 BROWARD 0PALM BEACH 0 MARTIN 0 ST. LUCIE         0INDIAN RIVER ❑ OKEECHOBEE 0 HIGHLANDS

II. BASIS OF JURISDICTION                        (Place an "X" in One Box Only)              III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an 'X"in One Boxfor Plaint0
                                                                                                     ( For Diversity Cases Only)                             and One Box for Defendant)
0 1     U.S. Government                  3                 Federal Question                                                    PTF  DEF                                       PTF DEF
          Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State         ig 1 0 1 Incorporated or Principal Place      0 4 04
                                                                                                                                        of Business In This State

 O 2 U.S. Government                 04                       Diversity                            Citizen of Another State   02        ID 2 Incorporated and Principal Place      O 5     05
        Defendant                             (Indicate Citizenship ofParties in Item III)                                                      of Business In Another State

                                                                                                   Citizen or Subject of a    03        ❑ 3     Foreign Nation                     O 6     06
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an "X"in One Box Only)                                   Click here for: Nature of Suit Code Descriptions
         CONTRACT                                    TORTS''                            FORFEITURE/PENALTY                  ' BANKRUPTCY                             00.001110
0110 Insurance                  PERSONAL INJURY            PERSONAL INJURY 0625 Drug Related Seizure                     0 422 Appeal 28 USC 158                  0 375 False Claims Act
O 120 Marine                   0310 Airplane            O 365 Personal Injury -              ofProperty 21 USC 881 0 423 Withdrawal                                 376 Qui Tam (31 USC
0130 Miller Act                0315 Airplane Product           Product Liability     0690 Other                                  28 USC 157                          3729(a))
                 Instrument         Liability           O 367 Health Care/                                                                                          400 State Reapportionment
0150 Recovery of Overpayment 0320 Assault, Libel &            Pharmaceutical                                                  PROPERTY RIGHTS                       410 Antitrust
     & Enforcement of Judgment      Slander                   Personal Injury                                            O 820 Copyrights                           430 Banks and Banking
0151 Medicare Act              0330 Federal Employers'        Product Liability                                          O 830 Patent                               450 Commerce
0152 Recovery of Defaulted          Liability           El 368 Asbestos Personal                                         ri 835 Patent- Abbreviated               O 460 Deportation
                                                                                                                        " New Drug Application
                                                               Injury Product Liability                                      840 Trademark                          470 Racketeer Influenced an
      Student Loans            0340 Marine
                                                                                                                                    E
                                                                                                                             880 Defend Trade Secrets
                                                                                                                               Act of 2016
                                                                                                                                                                  O Corrupt Organizations

    (Excl. Veterans)           0345 Marine Product                                                 LABOR                      SOCIAL SECURITY                     ❑ 4801. i1JrCmle68 r.V11692)
0153 Recovery of Overpayment                Liability                PERSONAL PROPERTY 0710 Fair Labor Standards                  O 861 HIA (1395ff)             ❑ ggLetleopnh,'Zig("CroCnITer
     of Veteran's Benefits         0350 Motor Vehicle               O 370 Other Fraud                     Act                     O 862 Black Lung (923)         O 490 Cable/Sat TV
0160 Stockholders' Suits           0355 Motor Vehicle               O 371 Truth in Lending 0720 Labor/Mgmt. Relations O 863 DIWC/DIWW (405(g)) O 850 Securities/Commodities/
0190 Other Contract                        Product Liability        O 380 Other Personal         0740 Railway Labor Act           O 864 SSID Title XVI                Exchange
0195 Contract Product Liability    0360 Other Personal                     Property Damage       0751 Family and Medical          O 865 RSI(405(g))              O 890 Other Statutory Actions
0196 Franchise                             Injury                   O 385 Property Damage                 Leave Act                                              O 891 Agricultural Acts
                                   0362 Personal Injury -                  Product Liability     0790 Other Labor Litigation                                     O 893 Environmental Matters
                                           Med. Malpractice                                      0791 Empl. Ret. Inc.                                            O 895 Freedom of Information
      REAL PROPERTY                       CIVIL RIGHTS               PRISONER PETITIONS                   Security Act               FEDERAL TAX SUITS                Act
   210 Land Condemnation            1E440 Other Civil Rights            Habeas Corpus:                                            O 870 Taxes (U.S. Plaintiff    El 896 Arbitration
   220 Foreclosure                 0441 Voting                      O 463 Alien Detainee                                                 or Defendant)           O 899 Administrative Procedure
                                                                     ri 510 Motions to Vacate                                     ri 871 IRS—Third Party 26 USC        Act/Review or Appeal of
 0 230 Rent Lease & Ejectment 0442 Employment                       "Sentence                                                    "7609                                Agency Decision
 O 240 Torts to Land               0       Housing/                        Other:                                                                                U    950  Constitutionality of Stat
                                        Accommodations                                                                                                                Statutes
 O 245 Tort Product Liability      0445 Amer.      w/Disabilities -  O  530 General                       IMMIGRATION
 O 290 All Other Real Property             Employment                O 535 Death Penalty         0462 Naturalization Application
                                   0446 Amer. w/Disabilities - O 540 Mandamus & Other 0465 Other Immigration
                                           Other                     O 550 Civil Rights                   Actions
                                   0448 Education                    O 555 Prison Condition
                                                                        560 Civil Detainee -
                                                                    [3 Conditions of
                                                                        Confinement
 V. ORIGIN                ( Place an "X" in One Box Only)
 O 1 Original            2 Removed ❑ 3 Re-filed 0 4 Reinstated 0 5 Transferred from                            Ei 6 Multidistrict ❑
                                                                                                                                      7 Appeal to             8 Multidistrict
      Proceeding             from State         (See VI             or                   another district           Litigation                                                     Remanded from
                             Court              below)              Reopened            (specify)                   Transfer              District Judge        Litigation         Appellate Court
                                                                                                                                         from Magistrate        - Direct
                                                                                                                                          Judgment              File
 VI. RELATED/                            (See instructions): a) Re-filed Case          OYES 0NO                      b) Related Cases OYES 0 NO
 RE-FILED CASE(S)                                          JUDGE:                                                                      DOCKET NUMBER:

                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not citejurisdictional statutes unless diversity):
 VII. CAUSE OF ACTION Plaintiffs action asserts a claim under 42 USC '1983
                                          LENGTH OF TRIAL via                  days estimated (for both sides to try entire case)
 VIII. REQUESTED IN                               IF THIS IS A CLASS ACTION
                                          0 CHECK
                                            UNDER F.R.C.P. 23
                                                                                                      DEMAND $                                CHECK YES only if demanded in complaint:
        COMPLAINT:
                                                                                                                                          JURY DEMAND:               [a Yes       0No
 ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
 DATE                                          SIGNATURE OF ATTORNEY OF RECORD

                                                                                                    IS/ScdAt D. Alexander
 FOR OFFICE USE ONLY:RECEIPT #                              AMOUNT                           IFP                  JUDGE                         MAG.JUDGE
